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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA           ) CR. NO. 2:09-CR-0356 LKK
                                        )
12                  Plaintiff,          )
               v.                       ) STIPULATION AND ORDER
13                                      ) TO MODIFY BRIEFING SCHEDULE
                                        )
14   RUBEN ACOSTA LUGO, and             )
     GUADULUPE ALBERTO VELARDE
     ROCHIN,                            )
15                                      )
                    Defendants.         )
16
     _______________________________
17
18
19        Plaintiff United States of America and Defendants Ruben Acosta
20   Lugo and Guadulupe Velarde Rochin, through their respective counsel,
21   Assistant Federal Defender Caro Marks and Attorney Lorie J.
22   Teichert, stipulate and agree to modify the schedule for briefing
23   Defendants’ Motion to Suppress Evidence.       The matter is currently
24   set for evidentiary hearing on September 30 and October 1, 2010.
25   The hearing date will remain the same.       The parties agree to modify
26   the briefing schedule as follows:
27        1.   Government’s Opposition shall be filed no later than
               August 13, 2010; and
28
     Stipulation and
     Order Re Briefing Schedule           1
           Case 2:09-cr-00356-LKK Document 51 Filed 08/13/10 Page 2 of 3


 1        2.     Defendant’s Reply shall be filed no later than
                 August 27, 2010.
 2
          The parties are discussing potential resolution of the case.
 3
     The additional time is needed to determine whether the case can be
 4
     resolved.   Accordingly, the parties stipulate to the modified
 5
     briefing schedule.
 6
          Time has previously been excluded up to and including October
 7
     1, 2010, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) - Local Code T-4
 8
     - reasonable time to prepare and for continuity of counsel and 18
 9
     U.S.C. § 3161(h)(1)(D) - Local Code E - pending motion.          Attorneys
10
     Caro Marks and Lorie Teichert have authorized Assistant U.S.
11
     Attorney Todd D. Leras to sign this stipulation on their behalf.
12
                                              Respectfully submitted,
13
                                              BENJAMIN B. WAGNER
14                                            United States Attorney
15
16   DATED: August 10, 2010             By: /s/ Todd D. Leras
                                            TODD D. LERAS
17                                          Assistant U.S. Attorney
18
19   DATED: August 10, 2010             By: /s/ Todd D. Leras for
                                            CARO MARKS
20                                          Attorney for Defendant
                                            RUBEN ACOSTA LUGO
21
22   DATED: August 10, 2010             By: /s/ Todd D. Leras for
                                            LORIE J. TEICHERT
23                                          Attorney for Defendant
                                            GUADALUPE VELARDE ROCHIN
24
25
26
27
                                        ORDER
28
     Stipulation and
     Order Re Briefing Schedule           2
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 1        Good cause having been shown, it is hereby ordered that the
 2   modified briefing schedule proposed by the parties is adopted.        The
 3   hearing on Defendants’ Motion to Suppress Evidence remains set for
 4   September 30 through October 1, 2010.
 5
 6   DATED: August 13, 2010
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     Stipulation and
     Order Re Briefing Schedule           3
